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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       1:17-cr-37-01-JL
                                              )
CHRISTOPHER CLOUGH                            )


                        UNITED STATES’ INITIAL WITNESS LIST

       The United States of America, by Scott W. Murray, United States Attorney for the

District of New Hampshire, hereby submits its Initial Witness List for trial. In its case in chief,

the government intends to call all or some of the following witnesses:

                                          Kim Blackwood
                                               FBI

                                         Stacey Schendler
                                               FBI

                                           Bridget Horan
                                                FBI

                                       Sharon Hertz, M.D.
                                  Food and Drug Administration

                                          Andrew Ranck
                                             Qlarant

                                         Dori Lefebvre
                                      NH Board of Medicine

                                          Natalie Babich
                                          Scottsdale, AZ

                                           Kevin Flynn
                                         Somersworth, NH

                                         Jeffrey Pearlman
                                           Oakland, NJ
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                           Mackenzie Colby
                            Rochester, NH

                              Jeffrey Kyle
                               Dover, NH

                            Pamela Langlois
                              Newton, NH

                             Colleen Perry
                              Dover, NH

                              Mark Perry
                              Dover, NH

                              John Perusse
                             Rochester, NH

                            Melissa Perusse
                            Rochester, NH

                             Leah Clough
                     Salmon Falls Family Healthcare

                             Tiffany Cole
                     Salmon Falls Family Healthcare

                           Shelley McGlone
                              Dover, NH

                        John Schermerhorn, MD
                           East Kingston, NH

                             Kasey Talon
                            Nottingham, NH

                             Steve Toscano
                      Granite State Pain Associates

                            Nicole Wheeler
                      Granite State Pain Associates

                               Pam March
                      Granite State Pain Associates




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         The United States asks for leave to amend its witness list as may become appropriate and

necessary during the proceeding.

                                                 Respectfully submitted,

                                                 SCOTT W. MURRAY
                                                 UNITED STATES ATTORNEY

    Dated: December 4, 2018                      By: /s/ Charles L. Rombeau
                                                 Seth R. Aframe
                                                 Charles L. Rombeau
                                                 Assistant United States Attorneys
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                                                 seth.aframe@usdoj.gov
                                                 charles.rombeau@usdoj.gov




                               CERTIFICATION OF SERVICE

       I hereby certify that a copy of this filing has been served electronically, through ECF, on
Pat Richard, Esq., counsel for the defendant, on today’s date.

                                                     /s/ Charles L. Rombeau
                                                     Charles L. Rombeau
                                                     Assistant United States Attorney




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